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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:20-cv-03024-RBJ-STV

   WAZIR ALI MUHAMMAD,

                   Plaintiff,

   v.

   WAKEFIELD AND ASSOCIATES,
   UC HEALTH UNIVERSITY OF COLORADO HOSPITAL,
   EXPERIAN CONSUMER REPORTING AGENCY,
   TRANS UNION CONSUMER REPORTING AGENCY, and
   EQUIFAX CONSUMER REPORTING AGENCY,
             Defendants.



                         STIPULATION OF DISMISSAL WITH PREJUDICE


           Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), it is hereby stipulated and

  agreed by and between Plaintiff, Wazir Ali Muhammad, and Defendant Equifax Information

  Services LLC, incorrectly named as Equifax Credit, (“Equifax”) that the above-titled action is

  hereby dismissed with prejudice as to Defendant Equifax. Each party will bear their own costs

  and attorney’s fees.




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  Dated: February 19, 2021                 Respectfully submitted,


                                           /s/ Wazir Ali Muhammad
                                           Wazir Ali Muhammad, Pro Se Plaintiff
                                           (with express permission)


                                           /s/ Jeremy A Moseley
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